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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ASSOCIATION OF AIR MEDICAL SERVICES,      )
                                          )
          Plaintiff,                      )
                                          )
       v.                                 )                No. 1:21-cv-03031-RJL
                                          )
U.S. DEPARTMENT OF HEALTH AND             )                Consolidated with
HUMAN SERVICES, et al.,                   )                No. 1:21-cv-03231-RJL
                                          )
          Defendants.                     )
__________________________________________)

                   DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
       The Defendants respectfully request that the Court take judicial notice of a press release issued

by the American Medical Association and the American Hospital Association—Plaintiffs in Civil

Action No. 21-3231—on the afternoon of September 20, 2022, after the filing of the stipulation of

dismissal of their claims in this action (ECF No. 76). A copy of the press release is attached for the

Court’s convenience.

Dated: September 21, 2022                          Respectfully submitted,

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